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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                 Case No. 11-40047-11-RDR

LUISA MOTA-HERNANDEZ,

                  Defendant.


                                  O R D E R

     This matter is presently before the court upon defendant Luisa

Mota-Hernandez’ motion to file motions out of time.            The defendant

notes that the government does not object to this motion.

     The deadline for filing pretrial motions in this case at the

time that the defendant filed the instant motion was October 31,

2011.     The defendant filed this motion on November 1, 2011 and

included three pretrial motions that he sought to file out of time.

Since the filing of the defendant’s motion, the court extended the

deadline for filing pretrial motions to December 9, 2011.

     For good cause shown, the court shall grant the defendant’s

motion.     The   court   shall   consider    the   motions    filed   by    the

defendant on November 1, 2011 as timely filed.

     IT IS THEREFORE ORDERED that defendant’s motion to file

motions out of time (Doc. # 257) be hereby granted.             The pretrial

motions filed by the defendant on November 1, 2011 shall be

considered as timely filed.
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IT IS SO ORDERED.

Dated this 15th day of December, 2011 at Topeka, Kansas.


                             s/Richard D. Rogers
                             United States District Judge




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